United States v. White
  3:21-cr-155-DJH
    EXHIBIT “F”
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        United States v. John Stuart
               21-CR-07-LJV-JJM



             Defendant’s Exhibit D
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             The case involves a group of investigations and proceedings relating to the sexual
exploitation of children on the Deep Web. In the investigation, conducted by the Federal Public
Prosecutor's Office and approximately twelve police forces from around the world (United States,
United Kingdom, Australia, Canada, New Zealand, Germany, Portugal, Italy, Norway, France and
Austria), it was possible to verify the activity of a large transnational criminal group, primarily focused
on committing the crimes of the sale, dissemination, production and storage of child pornography
(Article Nos. 240, 241, 241-A and 241-B of the ECA (Estatuto da Criança e do Adolescente [Child and
Adolescent Statute])) and rape, including the vulnerable (Article Nos. 213 and 217-A of the Criminal
Code), occurring at least since 2013 in Deep Web hidden services.

             The primary goal of the Deep Web is to protect the identity of users by circulating data
through a distributed network of computers called nodes. This results in covering up the Internet
protocol (IP), which is essential for identifying cybercriminals in the most common of investigations.
In addition to covering up the IP addresses of individual users, the TOR network also allows one to
hide the physical location of various internet services, forming so-called [bilingual text] (hidden
services).Such characteristics greatly increase the difficulty of criminal prosecution.

             In this case, said hidden services were known by the suggestive names of Baby Heart, Boy
Vids 4.0, HurtMeh, BR Prohibited Angels and Loli Lust. In addition, users of these forums totaled
1,839,831 members, from various nationalities and languages of the world, such as German, Chinese,
Arabic, Hungarian, among others, who shared and published infant-juvenile sexual abuse content, from
photos and videos to rape manuals. The platforms had the following key features:

             a) Baby Heart (“baby’s heart”, in free translation): designed for the sexual abuse material
of infants and children from 0 to 5 years of age;

             b) HurtMeh (“hurt me”, in free translation): designed for the sharing of images and videos
of the sexual abuse of children with an emphasis on hurtcore material (sexual abuse with violence),
including sadism, torture and the death of children;

             c) Prohibited Angels: dedicated to the sharing of sexual abuse material of boys and aimed
exclusively at Portuguese speakers;

             d) BoysVids4.0: designed for the sharing of sexual abuse of boys; and
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               e) Lolilust (something such as “lolita lust”, in free translation, alluding to the book “Lolita”,
by Russian writer Vladimir Nabokov): intended for the sharing of images of the sexual abuse of girls.

               The arrest in 2017, in Portugal, of one of the directors of the abovementioned Baby Heart
led to an investigation in which evidence emerged that led to the arrest and accusation, in
Recife/Pernambuco State (PE), of another of its directors.

               During the final phase of the proceedings, the Federal Public Prosecutor's Office (MPF,
Ministério Público Federal) was contacted for a plea bargain agreement with this local administrator,
who reported having a direct relationship, through Deep Web, with the possible maintainer of several
hidden services of child pornography, one of the most sought-after targets in the world by criminal
repression agencies. The MPF confirmed, through contacts with the Federal Bureau of Investigation
(FBI), the existence and importance of this person. According to the FBI, he maintained approximately
70% of child pornography content throughout the Deep Web worldwide. So, the MPF signed the plea
bargain.

               Once the plea bargain agreement was approved, authorization for police infiltration on the
Internet was obtained, with police agents, the Federal Public Prosecutor's Office and the plea bargainer.
The plea bargainer’s role was to provide relevant information on common terms among criminals of
the hidden services and to make direct contact with the maintainer of the criminal services in order to
obtain data for their identification.

               The deepening of the contact with the maintainer of the services during the infiltration and
technical assistance, legally authorized with the FBI, led to the identification of the IP address of the
target.

               From the IP, registration data was requested from the internet service provider. The
respective subscriber was a systems analyst who worked with application and web hosting service
providers, a profile compatible with the person investigated.

               The main suspect certainly had a lot of computer knowledge, because he was able to
maintain child pornography services since 2013, which caused additional difficulties for the
investigation. Indeed, in this scenario, very possibly all equipment was encrypted, accessible through
passwords of great complexity and easily deleted, even from a distance. Therefore, it was necessary to
gain access to those still in operation and capture the administrator passwords in order to facilitate
forensics and identify the enrolled users. As many of the users claimed and even posted unprecedented
images of abuse, discovery of their identity could lead to the rescue of victimized children and
adolescents.
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             Again, with court authorization, lifting of the secrecy and interception of the flow of
communications in the computer and network systems of the internet access points of the residence of
the maintainer of the hidden services was conducted.

             In the network interception, with the support of the English NCA, the entire data flow of
the investigated party was monitored, via unprecedented investigative means in Brazil. It was concluded
that, of the 445 GB total analyzed, approximately 374.108 GB (85.53%) corresponded to TOR traffic
and that the high daily average of data indicated that the target computer of the intercept acted as a
server or relay (routing third-party traffic), not as a mere client or user.

             In view of such new evidence, the Federal Public Prosecutor's Office obtained
authorization for: a) controlled action; b) telephone interception at the terminals of the investigated
party or persons associated therewith; c) obtaining of content stored at an email provider and internet
applications; d) ambient capture at the residence, in order to facilitate the recording of passwords when
entered by him; and e) search and seizure, including exploratory, at his residence.

             The second period of network interceptions was marked by the use of a deanonymization
technique (anonymization, inherent to the Deep Web) with assistance by the FBI. This police force
generated signals to simulate high-volume access to the hidden services possibly maintained by the
principal person investigated. Thus, after intercepting the address connection, it was possible to
distinguish between the periods of normal traffic received by the hidden service and the periods during
which the signal was sent by the application. The increase in the volume of accesses, simulated by the
signal generated, corresponded to the increase in the volume of intercepted data. Thus, the technique
corroborated the maintenance of services at the residence.

             There was also the telephone interception of numbers associated with this investigated
party, which proved useful because dialogs were captured between him and the internet provider
reporting that the service was not working. During this period, the hidden services remained offline;
accordingly, criminal liability was reinforced.
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             The exploratory search, a first-of-its-kind technique that consisted of authorization to enter
the target’s home, in their absence, in order to analyze the possibility of installing ambient capture
cameras (idea subsequently discarded), using a capture device for data typed or transmitted by the
mouse (keylogger and mouse logger) and copying data from electronic equipment, also yielded
noteworthy results.

             On 3/8/2019, the circuit breaker panel of the condominium in which the maintainer resided
was accessed. Thus, the electrical power of the property was switched off, leading to the hidden services,
which were online just before the outage, going offline. On 3/12/2019, a new exploratory search found
several computers, external and internal HDs, pen drives and other media, adopting the decision to copy
as much data as possible in the future.

             On 6/5/2019, a second exploratory entry was made at the residence, during which
keyloggers were installed inside two keyboards. With this technique, expertise passed on by the English
police, all data entered by the investigated party would be captured and stored. Among this data, the
administrator passwords of the forums were key. The occasion was also used for a complete copy of
the server’s hard drive, temporarily unprotected, for further expert examination in the event of the
subsequent destruction of the equipment or ineffectiveness of the keyloggers.

             After installing the keyloggers inside the two keypads, a power outage was again forced
for all the servers, so that the investigated party would need to restart these and enter their passwords,
now capturable. The strategy worked.

             On the following day, 6/6/2019, the preventive arrest warrant and search and seizure
warrants were served, making it possible to seize various storage media at the investigated party's
residence, some even in operation.

             These media were copied and expertly investigated in order to support the continuation of
investigations into child abusers in Brazil and around the world, since there was a court authorization
to share the material.

             In this material, there were 2,042,408 files of sexually explicit or pornographic scenes of
children or adolescents. Files were also found referring to the abovementioned hidden services, only
accessible due to the capture of passwords via the keyloggers.
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                Other means of proof, such as the lifting of email secrecy, bank secrecy and tax secrecy,
the [ERB] of his cell phone and data from his use of the Uber app, in addition to the physical monitoring
of the investigated party when outside his home, proved useful in the instrumentalization of the
exploratory search and in the corroboration and discovery of crimes.

                Sharing with other countries, for example, led to the release of a boy, abducted and abused
for almost two months in Russia, and to various investigations and proceedings in Brazil and elsewhere
in the world.

                Furthermore, NCA produced reports with the connection logs and IPs of 68 users of the
forums in Brazil, perpetrators of crimes such as rape of the vulnerable and the production, disclosure
and acquisition of photographs and videos containing explicit or pornographic sex scenes involving a
child or teenager. Among these are criminal agents prosecuted for crimes of the same kind. Evidence
regarding the potential maintainer of new child pornography forums is also highlighted.

                The deepening of the investigation in relation to these 68 new criminal agents, in an
investigation ongoing before the 36th Federal Court of Pernambuco by association, led to a new phase
of the operation, with the lifting of identity secrecy, 8 preventive arrests and 105 search and seizure
warrants.

                Deployment of this new phase, on 12/3/2021, resulted in the serving of all 8 preventive
arrest warrants and 23 arrests in flagrante delicto for crimes under Art. 241-B of the ECA. Preliminary
analysis of the seized equipment led to [the discovery of] new crimes at least under Arts. 240 of the
ECA and 217-A of the Criminal Code. Moreover, it allowed for the rescue of 3 children who were
victims of possible sexual abuse. The evidence supports further investigations and proceedings in a
range of courts.

                Finally, I emphasize that there was judicial authorization for the "disclosure regarding the
existence of the operation, the proceedings and the facts relating thereto, provided that it is not
subsequently possible to identify the victims and those investigated."
